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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                                 Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.




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             [PROPOSED] ORDER DENYING DEFENDANTS’
 MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C § 1406(a) AND § 1404(a)

       Upon consideration of Defendants’ Motion to Transfer Venue Pursuant to 28 U.S.C.

§ 1406(a) and § 1404(a) and the relevant filings and evidence attached thereto, the Court finds that

Defendants have failed to show that venue is improper in the Southern District of Texas under 28

U.S.C. § 1391(e)(1) and the motion to transfer venue pursuant to 28 U.S.C. § 1406(a) is DENIED.

The Court also finds that Defendants failed to show good cause to transfer venue pursuant to 28

U.S.C. § 1404(a), as they have not established based on the evidence and arguments that venue

would be clearly more convenient in the Central District of California.

       For the foregoing reasons, it is hereby ordered that the motion is DENIED.

       SO ORDERED on February ___, 2024

                                                     ___________________
                                                     Rolando Olvera
                                                     United States District Judge
